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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
THEODORE PAGANO, JR., by and through :
his personal representative, THEODORE :
PAGANO, SR.,                          :
                                      :
                     Plaintiff,       :              Civil Action No.
                                      :
       vs.                            :
                                      :
INSIDE EDITION, INC.                  :
                                      :              JURY TRIAL DEMANDED
and                                   :
                                      :
BECKETT GOLF CLUB,                    :
                                      :
                     Defendants.      :

                                CIVIL ACTION COMPLAINT

       Plaintiff, Theodore Pagano Jr., by and through his personal representative and

undersigned counsel, hereby files his Complaint against Defendants, Inside Edition, Inc. and

Beckett Golf Club, and in support thereof, states and avers as follows:

                                        THE PARTIES

       1.      At all times material hereto, Plaintiff, Theodore Pagano Jr., is a resident of 14

Variton Drive, Wilmington, DE 19810.

       2.      Defendant Inside Edition, Inc. (“Inside Edition”) is, upon information and belief,

a New York corporation, owned by CBS Television Distribution Group, a unit of CBS

Corporation, with an address of 555 W. 57th Street, Suite 1300, New York, NY 10019-2925.

       3.      At all times relevant hereto, Defendant, Inside Edition, acted through its agents,

servants, and employees, all of whom were acting within the course and scope of their

employment authority or apparent authority.
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          4.    Defendant Beckett Golf Club (“Beckett”) is authorized to do business within the

jurisdiction of this court and within the State of New Jersey and conducts business at 2387 Kings

Highway, Woolwich Township, NJ 08085.

                                JURISDICTION AND VENUE

          5.    This Honorable Court has jurisdiction pursuant to 28 U.S.C. § 1332 due to

diversity of citizenship and the amount in controversy substantially exceeding $75,000.

          6.    Jurisdiction and venue are appropriately situated in this Honorable Court, because

each of the Defendants regularly and systematically transacts business in and throughout this

district, and because all of the events and circumstances giving rise to this lawsuit occurred

within this district.

                                   FACTUAL BACKGROUND

          7.    This is a case about an overzealous and out-of-control media Defendant, Inside

Edition, Inc., who desperately tried to concoct, literally out of thin air, a salacious story about

exotic dancers at a golf outing, and in so doing, caused a catastrophic outcome that was

completely foreseeable and preventable. Along the way, the negligence of the Defendant golf

club Beckett contributed to the ultimate outcome, which destroyed the life of the Plaintiff and his

family.

          8.    On June 4, 2018, Plaintiff’s employer was hosting a private golf event at

Defendant Beckett’s golf course.

          9.    This work event included Plaintiff, his brother, numerous company employees

and/or independent contractors, and registered golfers.




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       10.     At least three (3) golfers worked for Inside Edition (the “Inside Edition golfers”),

as agents or employees of Defendant, Inside Edition, and arrived at Beckett ostensibly to

participate in the aforementioned private golf event.

       11.     During the private golf outing, Plaintiff had assigned various female independent

contractors (“females”) to participate at various golf holes and act as greeters, scorekeepers, hole

caddies and to provide beverages for the golfing participants.

       12.     During the golf outing, and in furtherance of their employment with Inside

Edition, the Inside Edition golfers began to harass these females by asking them to sell them (the

Inside Edition golfers) illegal drugs, and to provide them with illegal sex acts constituting

prostitution. The Inside Edition golfers repeatedly harassed and berated these females by also

asking them how many sex acts had they already performed on the golf course, and what types of

illegal drugs had they used and sold while out on the golf course.

       13.     These individuals’ conduct was so extreme and repetitive that it was eventually

reported to the Plaintiff, as the manager, because the females started to feel uneasy and unsafe

around the Inside Edition golfers. At all times relevant hereto, this conduct by the Inside Edition

golfers was scripted by, condoned by and known to Inside Edition, and this outrageous conduct

was undertaken while they were employees and in the course and scope of their employment

with Inside Edition, all in an effort to generate a “story,” not to honestly cover any spontaneously

newsworthy event.

       14.     When the Plaintiff learned about what was occurring to the females, he

confronted the Inside Edition golfers, in addition to a newscaster, and asked them to leave as a

result of their improper and disruptive behavior.




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        15.     The Inside Edition golfers’ behavior was so extremely intolerable that even the

management of Defendant Beckett had requested that these individuals immediately leave the

club.

        16.     At all times relevant hereto, the Inside Edition golfers refused to leave after being

asked by Beckett’s employee to do so and, in fact, continued to verbally assault and harass the

Plaintiff and the females.

        17.     At no time after being initially asked by Defendant Beckett’s employees did the

Inside Edition golfers leave the golf club or stop their verbally abusive and harassing behavior.

        18.     The Inside Edition golfers, as agents or employees of Defendant Inside Edition,

continued to bombard the Plaintiff’s work group with offensive questions about illegal drugs and

repeated attempts to elicit lewd sex acts, with handheld television cameras presumably rolling.

These questions specifically included how many drugs had been taken, how much the drugs cost,

how many sex acts had occurred on the golf course, how much these sex acts cost, and how the

Inside Edition golfers were interested in buying these sex acts and drugs.

        19.     While the Inside Edition golfers verbally assaulted Plaintiff, the females and

Plaintiff’s brother with these offensive questions and attempts to elicit lewd sex acts, Plaintiff

became extremely visibly shaken, red and upset.

        20.     Simultaneously with the Inside Edition golfers’ continued bombardment of the

Plaintiff with questions pertaining to illegal drugs, illegal sex acts and prostitution, the Plaintiff

Theodore Pagano Jr., suffered catastrophic cardiac arrest, caused by the Inside Edition golfers’

and newscaster’s negligent and intentional infliction of emotional distress, from which he has

still not recovered.




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        21.     Plaintiff, Theodore Pagano Jr., remains comatose as a result of this hypoxic event,

and has also suffered medical bill expenses, wage loss and loss of life’s pleasures due to the

Defendants’ collective and individual negligence and intentional infliction of emotional distress.

                                  COUNT I—NEGLIGENCE
                       PLAINTIFF v. DEFENDANT BECKETT GOLF CLUB

        22.     The allegations of paragraphs 1-21 above are incorporated herein as though fully

set forth at length.

        23.     The event described above was caused by the negligence, carelessness and/or

recklessness of the Defendants.

        24.     Defendant Beckett owed a duty to Plaintiff to keep the golf event safe and free

from known or developing problems through Plaintiff’s employer’s reservation of Defendant

Beckett for a private golf event.

        25.     Defendant Beckett was aware of what was occurring and, in fact, one of its

employees, acting in the course and scope of her employment with Defendant Beckett, asked the

Inside Edition golfers to leave the premises as a result of the above-stated misconduct. When the

Inside Edition golfers did not comply, ordinary care and diligence required that Defendant

Beckett, by and through its employees, agents and assigns, either call its own security or call the

police to have the Inside Edition golfers removed from the premises.          Because Defendant

Beckett failed to do so when it knew that the Inside Edition golfers were so disruptive and acting

in the manner described above, it acted negligently and irresponsibly.

        26.     Then, approximately ten (10) minutes later, a second, unrelated employee from

Defendant Beckett asked the same group of Inside Edition golfers to leave the premises for the

same ongoing behavior, again without doing anything further other than to request that they

leave. Thus, in two (2) instances, Defendant Beckett should have called for security and/or the

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local police to have the Inside Edition golfers removed, which all would have occurred before

the Plaintiff was harassed and berated to the point of his catastrophic heart attack.

        27.     Defendant Beckett and its employees’ breach of this duty occurred through its

employees’ omissions, with knowledge that the Inside Edition golfers were on the premises

verbally assaulting Plaintiff and others associated with the Plaintiff and failing to remove them

from the premises.

        28.     As a result of the negligence and carelessness of Defendant Beckett and its

employees, Defendant was a legal cause of Plaintiff’s injuries.

        29.     As a result of the negligence and carelessness of Defendant Beckett and its

employees, Plaintiff suffered catastrophic cardiac arrest, from which he has not recovered.

        30.     As a result of the negligence and carelessness of Defendant Beckett and its

employees, Plaintiff is still comatose with little hope of recovery.

        31.     As a result of the negligence and carelessness of Defendant Beckett and its

employees, Plaintiff continues to incur medical bills, wage loss, and loss of life’s pleasures.

        WHEREFORE, Plaintiff demands judgment against Defendants in an amount

substantially in excess of this Honorable Court’s arbitration limits, together with the costs of this

litigation, pre- and post-judgment interest and any further relief this Honorable Court deems just

and appropriate.

         COUNT II—INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                  PLAINTIFF v. DEFENDANT INSIDE EDITION

        32.     The allegations of paragraphs 1-31 above are incorporated herein as though fully

set forth at length.

        33.     The Inside Edition golfers were acting as agents, employees or ostensible agents

and employees of Defendant, Inside Edition Inc., at all times material hereto.

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          34.   The Inside Edition golfers acted intentionally by verbally assaulting Plaintiff and

intending to produce the completely foreseeable emotional distress that followed, all of which

was made evident by the repeated verbal onslaught of allegations directed towards Plaintiff and

others about non-existent illegal drugs and non-existent prostitution.

          35.   Defendant’s conduct in attributing such criminal behavior to the Plaintiff is so

outrageous on its face that it is considered defamatory as a matter of law in the State of New

Jersey.

          36.   Defendant’s actions in bombarding Plaintiff with false allegations were so

outrageous and extreme that it goes beyond all possible bounds of decency, especially since the

Plaintiff now had a reasonable expectation that his face, image and business interests would be

broadcast on national television in the context of prostitution and illegal drugs.

          37.   The Inside Edition golfers’ actions were extreme and outrageous in bombarding

Plaintiff with false allegations, and attributing serious and felonious criminality to him, all of

which was completely fabricated by this Defendant for its own contrived “story,” and all for its

material gain and profit.

          38.   The Inside Edition golfers’, on behalf of Defendant Inside Edition, verbal assault

was a cause of Plaintiff’s emotional distress and damages.

          39.   Inside Edition produced severe emotional distress through its verbal onslaughts of

allegations. Inside Edition is, regrettably, known for sensationalist “journalists,” and with its

national television audience, it was reasonably expected that the Inside Edition “story” about

drugs and prostitution would be nationally televised, and obviously most harmful and upsetting

to the Plaintiff that it would be seen in and throughout Philadelphia.




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       40.     At all times material hereto, Defendant, Inside Edition Inc. was acting by and

through its agents or employees, who were duly authorized actual and/or ostensible agents,

employees, workmen and/or servants of Inside Edition, acting within the scope and course of

their employment or business relationship with Inside Edition, and all acts, omissions, or other

liability producing conduct of the Inside Edition golfers were within the scope of their business

relationship with Inside Edition, and in fact totally in furtherance of the business interests and

practices of Inside Edition.

       41.     Defendant is vicariously liable for the intentional infliction of emotional distress

produced by the Inside Edition golfers as duly authorized actual and/or ostensible agents,

employees, workmen and/or servants, as more fully set forth above and incorporated herein by

reference.

       42.     The intentional infliction of emotional distress of the Inside Edition golfers, for

which Defendant Inside Edition is vicariously liable, consisted of but is not limited to the

following:

               (a) Verbal assaults of false allegations directed at Plaintiff and reasonably

                   creating the emotional distress that followed;

               (b) Extreme and outrageous behavior through false attribution of criminality;

               (c) Extreme and outrageous behavior that caused Plaintiff’s emotional distress;

               (d) Onslaught of false allegations that produced an emotional distress so severe

                   that no reasonable person could be expected to endure it; and

               (e) Using its (Inside Edition’s) reputation as sensationalist “journalists,” with a

                   national television audience, to further scare, harass and intimidate the

                   Plaintiff into believing that Inside Edition’s story on illegal prostitution and


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                      illegal drugs would be televised nationally, but particularly in and throughout

                      Philadelphia, further causing and contributing to the Plaintiff’s severe

                      emotional distress, anxiety and fear creating the catastrophic cardiac arrest.

       43.       Ultimately, there was no journalistic intent to cover a simple, friendly and legal

golf outing; instead, Defendant Inside Edition went through a pre-designed and concocted

scheme to have three (3) golfers register as benign golf participants, from which they would

begin to act in an irresponsible, intentional and mendacious manner, all for the purpose of

manufacturing a story about prostitution and the illegal sale of drugs on a golf course, obviously

none of which occurred, and for which Inside Edition had no good faith basis to even believe

was occurring.

       44.       The Plaintiff’s employer had successfully and without disruption hosted this

private golf event for at least the past thirteen (13) years and never had any problems or

allegations involving drugs, prostitution or lewd sex acts.

       45.       At all times relevant hereto, Inside Edition deviated from even the most basic

elements of responsible journalism and undertook this conduct, which was specifically designed

to inflame, incite, harass and emotionally distress and provoke the Plaintiff and his co-workers,

all for the purpose of generating a salacious and bogus story which had no truth.

       46.       As a result of the intentional infliction of emotional distress caused by Inside

Edition, Plaintiff sustained serious, permanent, and painful injuries as set forth more fully above.

       47.       As a result of the intentional infliction of emotional distress caused by Inside

Edition, Plaintiff has suffered and continues to suffer great physical pain, mental anguish and

emotional distress.




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        48.     As a result of the intentional infliction of emotional distress caused by Inside

Edition, Plaintiff has incurred medical bills, wage loss and loss of life’s pleasures.

        49.     As a result of the deliberate, malicious, willful, wanton and/or reckless conduct of

Inside Edition, as set forth more fully herein, Plaintiff demands punitive damages.

        WHEREFORE, Plaintiff demands judgment against Defendants in an amount

substantially in excess of this Honorable Court’s arbitration limits, together with punitive

damages, the costs of this litigation, pre- and post-judgment interest and any further relief this

Honorable Court deems just and appropriate.

          COUNT III—NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                   PLAINTIFF v. DEFENDANT INSIDE EDITION

        50.     The allegations of paragraphs 1-49 above are incorporated herein as though fully

set forth at length.

        51.     The Inside Edition golfers were acting as agents, employees or ostensible agents

and employees of Defendant Inside Edition, at all times material hereto.

        52.     The Inside Edition golfers’ negligent conduct in assailing Plaintiff, through their

repeated verbal onslaught of allegations directed towards Plaintiff, Plaintiff’s employees, and

Plaintiff’s friends and family, was a contributing factor causing the catastrophic physical and

emotional distress suffered by Plaintiff.

        53.     Defendant Inside Edition’s negligent conduct in attributing extreme felonious

criminal behavior to the Plaintiff is so outrageous on its face, in addition to being clearly and

obviously foreseeable, that it would cause severe emotional distress, that it is considered

defamatory as a matter of law in the State of New Jersey.

        54.     Inside Edition’s actions of negligently bombarding Plaintiff with false allegations

and attributing criminal behavior to him in front of his co-employees, family and friends at a

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private golf event, were foreseeable and obvious that these actions would negligently cause

severe emotional distress to Plaintiff.

       55.     Inside Edition’s verbal assault was a cause of Plaintiff’s emotional distress and

damages.

       56.     Inside Edition, in its actions, produced emotional distress so severe through a

verbal onslaught of allegations by persons who are known to be sensationalist “journalists,” that

no reasonable person could be expected to endure, especially since Inside Edition has a national

television audience, and obviously most harmful and upsetting to the Plaintiff that it would be

seen in and throughout Philadelphia.

       57.     At all times material hereto, Defendant, Inside Edition was acting by and through

its agents or employees, who were duly authorized actual and/or ostensible agents, employees,

workmen and/or servants of Inside Edition, acting within the scope and course of their

employment or business relationship with Inside Edition, and all acts, omissions, or other

liability producing conduct of the Inside Edition golfers were within the scope of their business

relationship with Inside Edition, and in furtherance of the business interests of Inside Edition.

       58.     Defendant is vicariously liable for the negligent infliction of emotional distress

produced by the Inside Edition golfers as duly authorized actual and/or ostensible agents,

employees, workmen and/or servants, as more fully set forth above and incorporated herein by

reference.

       59.     The negligent infliction of emotional distress of the Inside Edition golfers, for

which Defendant Inside Edition, is vicariously liable, consisted of but is not limited to the

onslaught of false allegations directed at Plaintiff that foreseeably caused the Plaintiff’s severe

physical and emotional distress.


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       60.     Negligently, carelessly and/or recklessly accusing an individual of condoning or

engaging in the sale of illegal drugs, and condoning or engaging in prostitution is tortious

conduct that reasonably and foreseeably can and will cause genuine and substantial emotional

distress or mental harm to an average person.

       61.     Inside Edition used its reputation as a sensationalistic “journalism” company, with

a national television audience, with television cameras presumably rolling, to further scare,

harass and intimidate the Plaintiff into believing that Inside Edition’s story on illegal prostitution

and illegal drugs would be televised nationally, but particularly in and throughout Philadelphia,

further causing and contributing to the Plaintiff’s severe emotional distress, anxiety and fear

creating the catastrophic heart attack.

       62.     The Plaintiff’s employer had successfully and without disruption hosted this

private golf event for at least the past thirteen (13) years and never had any problems or

allegations involving drugs, prostitution or lewd sex acts.

       63.     As a further act of negligence, Defendant Inside Edition either never researched,

or researched improperly and poorly, the fact that the Plaintiff and his co-workers had never

before engaged in any of the behavior that was being attributed to them at the time of the golf

outing. Had Inside Edition done any research whatsoever, it would have learned that there have

been no acts of lewd sexual behavior, prostitution or illegal drugs associated with the Plaintiff or

the Plaintiff’s business at any time.

       64.     At all times relevant hereto, Inside Edition deviated from even the most basic

notions of responsible journalism and undertook this negligent conduct, which was foreseeably

likely to inflame, incite, harass and emotionally distress and provoke the Plaintiff and his co-

employees.


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       65.     As a result of the negligent infliction of emotional distress caused by Inside

Edition, Plaintiff sustained serious, permanent, and painful injuries as set forth more fully above.

       66.     As a result of the negligent infliction of emotional distress caused by Inside

Edition, Plaintiff has suffered and continues to suffer great physical pain, mental anguish and

emotional distress.

       67.     As a result of the negligent infliction of emotional distress caused by Inside

Edition, Plaintiff has incurred medical bills, wage loss and loss of life’s pleasures.

       WHEREFORE, Plaintiff demands judgment against Defendants in an amount

substantially in excess of this Honorable Court’s arbitration limits, together with the costs of this

litigation, pre- and post-judgment interest and any further relief this Honorable Court deems just

and appropriate.

                       NOTICE OF PRESERVATION OF EVIDENCE

       PLAINTIFF HEREBY DEMANDS AND REQUESTS THAT DEFENDANTS TAKE

NECESSARY ACTION TO ENSURE THE PRESERVATION OF ALL DOCUMENTS,

COMMUNICATIONS, WHETHER ELECTRONIC OR OTHERWISE, ITEMS AND THINGS

IN THE POSSESSION OR CONTROL OF ANY PARTY TO THIS ACTION, OR ANY

ENTITY OVER WHICH ANY PARTY TO THIS ACTION HAS CONTROL, OR FROM

WHOM ANY PARTY TO THIS ACTION HAS ACCESS TO, ANY DOCUMENTS, ITEMS,

OR THINGS WHICH MAY IN ANY MANNER BE RELEVANT TO OR RELATE TO THE

SUBJECT MATTER OF THE CAUSES OF ACTION AND/OR THE ALLEGATIONS OF

THIS COMPLAINT.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial.


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                                          THE BEASLEY FIRM, LLC


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DATED: January 30, 2019




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